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                              February 15, 2021

Via electronic mail and regular mail

Candice Wong, Esquire
Assistant U.S. Attorney
555 4th Street, N.W.
Washington, D.C. 20530

Re:   United States v. John Sullivan
                21-cr-78

Dear Ms. Wong:

       I am writing to memorialize my initial discovery requests pursuant to
Federal Rule of Criminal Procedure 16 and established precedent from this
jurisdiction and the United States Supreme Court. If I do not hear back from
you by March 1, 2021, I will assume all representations made in this letter
are accurate and that any requested materials that have not been provided
do not exist, and I will prepare for trial accordingly.

      If the requested materials exist but the government declines to
provide them based on a theory that they are not discoverable, please let
me know immediately so I may file appropriate motions in a timely manner.
In connection with the following requests, I additionally request the
government take steps immediately to preserve any and all evidence to
which Mr. Sullivan and I are entitled access to under Rule 16, Brady, or any
other applicable law.

Eyewitness to the Incident




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       I request the names and contact information of all eyewitnesses to
the alleged incident. The primary basis for this request is my client’s well-
settled constitutional guarantees to due process, a fair trial, confrontation of
government witnesses, and effective assistance of counsel. In Gregory v.
United States, 369 F.2d 185, 188 (D.C. 1966): it was held that “Witnesses,
particularly eyewitnesses, to a crime are the property of neither the
prosecution nor the defense. Both sides have an equal right and should
have an equal opportunity, to interview witnesses” to an alleged crime.
Moreover, interviews of such witnesses are likely to produce evidence that
comes within the scope of Brady v. Maryland, 373 U.S. 83 (1963), and
Giglio v. United States, 405 U.S. 150 (1972). In other words, such
witnesses will likely have some information that is either directly
exculpatory for my client or diminishes the witnesses’ own credibility and
reliability. Defense attempts to interview these witnesses are also germane
to constitutional issues that may arise with regard to their participation in
identification procedures. Counsel for Mr. Sullivan cannot adequately
confront the testimony of these witnesses without the opportunity to
interview them and use the information from the interviews to fully
investigate the case.

       If you believe that identification of government witnesses raises
legitimate safety and security concerns, please advise me of such so we
can craft a protective order to address these concerns. If you are not
willing to disclose the names of witnesses, please advise and provide your
reasons for denying this request so that this matter may be litigated in a
timely fashion.

Rule 16 Discovery Requests

   1. Statements, Rule 16(a)(1)(A) and (B)

      I request the entirety of any and all statements made by John Sullivan
to law enforcement agents, state or federal prosecutors, the media or to
others, as well as information about when, where, and to whom these
statements were given and where these statements were given. If I do not
receive any notice of such statements, I will prepare for trial with the
understanding that none exist.

   2. Prior Record, Rule 16(a)(1)(D)


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      I request notice of all prior adjudications and convictions for John
Sullivan, including the particular dates and offenses involved. If I do not
receive notice of prior adjudications or convictions for Mr. Sullivan other
than those listed in his Pretrial Service Agency Report, I will prepare for trial
with the understanding that none e

   3. Documents, Rule 16(a)(1)(E)

      I request a copy of all police reports, witness statements, and other
documents that have been generated by any agent of law enforcement.
This request includes any MPD and FBI and other agencies who executed
reports in this case, including but not limited to any and all PD-47s, PD-58s,
PD-119s, PD-122As, Cobalt records, and other reports and documents
produced by police in relation to this case. I also request copies of any
photos or photo arrays that were used for any and all identification of John
Sullivan, and copies of any notes made by police officers or detectives in
this case.

      To the extent that these documents are not yet discoverable because
they are statements made by prospective government witnesses, pursuant
to the Rule of Criminal Procedure 16(a)(2), I am requesting that these
documents be provided if and when it is determined that the author or
witness is not going to be a government witness.

   4. Tangible Objects, Rule 16(a)(1)(E)

      I request a list and opportunity to view any tangible objects or any
physical evidence involved in this case that are within the possession,
custody, or control of the government that either are intended for use by the
government as evidence in chief at trial, would be material in preparation
for John Sullivan’s defense, or were obtained or belong to John Sullivan.
Pursuant to Rule of Criminal Procedure 16(a)(1)(E),if any of these objects
exist please inform me by March 1, 2021 so that we can arrange for me to
view and copy or photograph the objects.

      Please send me a date as soon as possible when I can come and
view any evidence obtained during or after the incident, and provide a
viewing letter authorizing counsel and an investigator from my office, John
Eicher, to inspect all tangible evidence. If a viewing letter is required,
please send it now with my name, authorization to bring an investigator

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from my office, John Eicher, and authorization to bring a camera to
photograph the evidence.

  5. Photograph and Videos, Rule 16(a)(1)(E)

      I request any and all photographs that are in the possession, custody
or control of the government that either would be material to John Sullivan’s
defense or intended for use by the government as evidence in chief at trial,
or were obtained from or belong to John Sullivan.

      This request also includes any video footage, including from cameras
owned by MPD (crime and red light) and DDOT (which are operated and
maintained by MPD, and to which MPD has access), as well as any
footage that government actors reviewed. This request also includes any
video footage from MPD District where the defendant was taken, and all
body worn camera footage that may have captured any portion of the
alleged incident, investigation or arrest of my client. As you are aware,
many cameras loop over footage every 10 to 30 days. I ask that you
preserve the footage related to this incident immediately.

       The request includes all Body Worn Camera (BWC) footage from all
offices involves in any and all searchers, arrests, and investigations
associated with this case and/ or labels with the CCN Number associated
with this case; information that will permit undersigned counsel to identify
the officer wearing the BWC; metadata related to any and all BWC footage;
information from the AUSA’s office and/or MPD specifying any edits or
redactions made to the footage and the corresponding justifications.
Please also provide the access logs for the BWC footage for any and all
officers involved in this case.

     I request copies of any other photographs, including any identification
procedures, and videos relevant to this incident. If I do not hear from you
by March 1, 2021, I will assume that the government does not possess any
videos and does not plan to introduce any evidence of a video at trial,
beyond those I have already received.

  6. Tape Recordings, Rule 16(a)(1)(E)

       There may have been radio communications and/or cellular phone
calls or audio recordings made in connection with this case. I request that

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the government preserve any and all radio communications, phone
communications and audio recordings, and furnish me with the copy of all
tape recordings of scout runs, ambulance runs, 911 calls, radio
transmissions, TAC communications, police and ambulance recordings,
and audio recorded interviews in connection with the incident and John
Sullivan’s arrest, which are within the possession, custody, or control of the
government, and which is material to the preparation of the defense or are
intended for use by the government as evidence in chief at trial. I also
request to be allowed to listen to any existing recorded communications in
advance of trial and to make a taped copy of any such communications.
This request comes pursuant to Rule 16(a)(1)(E) as well as pursuant to
Brady v. Maryland, 373 U.S. 83 (1963).

       It is my position that recorded communications are discoverable in
advance of trial under Rule 16(a)(1)(C) because the evidence is material
and relevant to the preparation of John Sullivan’s defense. I understand
that it may be the government’s position that certain radio communications
constitute material covered by Jencks v. United States, 353 U.S. 657
(1952). To avoid any resultant delay of trial that may occur in order for me
to listen to and investigate any last-minute disclosures, I request that you
provide the recording in advance of trial, and that the government
immediately provide me with any radio communications being held as
Jencks material as soon as the government determines that it will not call
that witness in its case-in-chief.

   7. Results/ Reports of Examination and Tests, Rule 16(a)(1)(F)

      I have received no notice of examination, tests, or experiments
conducted in this case. Pursuant to Rule 16(a)(1)(F), please provide me
with the results and reports relating to each and every individual scientific
test or experiment performed in relation to the alleges incident, including
but not limited to the testing and examination of any drugs; all examinations
and reports of ant medical treatment generated as a result of the alleged
incident, and any fingerprint or other analysis and/or examination of
biological matter generated in this case. Please also provide me with the
authorization to visit and inspect the laboratory at which examinations were
performed. Please provide the results/reports in sufficient time for me to
incorporate the material into my trial preparation, including the possible
need to seek alternate testing and/or the assistance of an expert to
examine the material or to testify concerning the material.

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   8. Expert Witness, Rule 16(a)(1)(G)

      I request the notice of any experts the government may call and the
written summary of the expert’s testimony that the government intends to
use during its case in chief at trial. Please include in the summary, the
expert witness’s name, opinions, the bases and the reasons therefore, and
the witness’s qualifications. I request contact information for each expert
witness.

     If I do not receive expert disclosures consistent with Rule 16, I will be
unable to prepare adequately to confront the expert and will move the
Court to preclude the government from calling the expert.

   9. Evidence of Uncharged Alleged Misconduct

      Please inform me if the government intends to introduce any
evidence of uncharged misconduct relating to John Sullivan by February
28, 2021, so that I may file any necessary pre-trial motions. Please provide
me with a factual proffer of the nature of any uncharged misconduct that
you intend to introduce at trial. Unless notified otherwise, I will assume that
the government does not intend to introduce evidence of uncharged
misconduct under Drew v. Unites States, 331 F.2d 85 (D.C. 1964).

   10.        Identification Procedures

       Please provide me with the following information for any
identifications conducted in this case: any and all statements made by the
identifying witness before, during, or after the identification; any statements
made to the identifying witness before, during, or after the alleged
identification; any information regarding false identifications or non-
identifications; the number of officers present at the time of the
identification; and the circumstances of the witness’s opportunity to
observe, like distance, lighting, and any other circumstances relating to the
reliability of the alleged identification. See Clemons v. United States, 401
F.2d 1230 (D.C. Cir. 1968).

   11.        Hearsay Exceptions




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      I request advance notice of the government’s intention to introduce
any arguably hearsay or other out-of-court statements in order to allow me
to have adequate time to prepare a motion to exclude such statements.
Unless you inform me otherwise, I will prepare for trial with the
understanding that the government does intend not to introduce any
hearsay evidence or other statements.

     Brady Requests

      I hereby make a general request for exculpatory and impeachment
information pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its
progeny.

      I also make the following specific requests pursuant to Brady, and
request that the government disclose such information in advance of trial
so that the defense may investigate, if necessary, and incorporate into its
preparation for trial;

  a. All inconsistencies between any accounts provided by any
     complainant, or inconsistencies or differences between any accounts
     by the complainant and other witnesses;

  b. any inconsistencies between the description provided by any
     witnesses related to John Sullivan;

  c. any information tending to undermine the reliability of any eyewitness
     accounts or descriptions;

  d. police bias and credibility information, including source documents,
     about any lawsuits against, findings of misconduct or complaints
     sustained against (including information and source documents about
     any discipline imposed against) any officers involved in the
     investigation and prosecution of this case, and all adverse credibility
     findings and findings of constitutional violations (including but not
     limited to Fourth and Fifth Amendment violations) involving any of the
     officers involved in the investigation or prosecution of this case. Given
     the repeated occurrence of the USAO denying such information
     exists only for it to be later uncovered by defense investigation, I
     request a proffer of the steps the USAO has taken to locate this
     information, as well as all source documents. I also request that the

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  USAO consult the Office of the Attorney General for DC, which
  maintains an independent database of this information.

e. police bias and credibility information, including source documents,
   about whether any of the officers involved in the investigation and
   prosecution of this case had any complaints, intervention plans,
   lawsuits, or investigations of conduct pending at any point during the
   pendency of this case, including but not limited to the officers
   mentioned above. Given the repeated occurrence of the USAO
   denying such information exists only for it to be later uncovered by
   defense investigation, I request a proffer of the steps the USAO has
   taken to locate this information. I request that the USAO consult the
   Office of the Attorney General for DC, which maintains an
   independent database of this information.

f. all intervention plans that were in place as of January 6, 2021, or
   which have been imposed since that date for all officers involved in
   this case in any capacity.

g. any information that others were arrested or questioned regarding
   this case;

h. the identities of and contact information for any witnesses who
   indicate that John Sullivan did not commit the indicted offense, and
   the substance of those witnesses’ statements;

i. the identities of and contact information for any witnesses who do not
   fully corroborate the government’s case or who serve to impeach the
   government’s evidence;

j. any information tending to show the unreliability of a government
   witness, or which would tend to discredit the testimony of a
   government witness;

k. any evidence of bias for the government or against John Sullvan for
   all civilian and police witnesses, pursuant to Giglio v. United States,
   405 U.S. 150 (1972). This includes the full parameters on any benefit,
   or promise of benefit, received by any government witness.




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    l. any evidence of bias or motive by any witness who have an
       immigration concern which the witness might believe or might have
       believed would be favorably affected by government action in this
       case, including but not limited to any conversations which any agent
       of the government, including police, victim advocates, or other staff of
       the U.S.A.O., regarding immigration status or obtaining immigration
       benefits, such as U, T, or S visas, through cooperation with law
       enforcement. See generally Delaware v. Van Arsdall, 475 U.S. 673
       (1986). I request the dates and substances of all statements made
       by either government actors or witnesses regarding possible
       immigrations issues or benefits;

    m. any prior bad acts of government, civilian, and police witnesses,
       pursuant to Giles v. Maryland, 386 U.S. 66 (1976), including use of
       false documents for employment or immigration purpose;

    n. any prior false reports pursuant to, including but not limited to, prior
       complaints or reports to the police or enforcement agencies that did
       not result in conviction;

    o. any prior inconsistent, non-corroborative, or other witness statements
       that will not reflect the witness’s trial testimony;

    p. all information in the government’s possession indicating that the
       mental state or capacity of any government witness is below normal
       or is an any way abnormal;

    q. any evidence that any government witness or informant was under
       the influence of any alcohol, narcotics, or any other substance at the
       time of the incident about which the witness will testify, or that the
       witness’s faculties were impaired in any way;

    r. information concerning any impeachable convictions of any
       government witnesses;

    s. all information indicating that:1


1
 With respect to the below information, I hereby request the docket numbers,
dates, and jurisdictions for any and all requested cases.

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         1. any government witness had a pending juvenile, immigration
            or criminal case at the time of the incident in the present
            case and/or has had such cases since that date;

         2. any government witness had a pending school disciplinary
            proceedings a the time pf the incident in the present case
            and/or has had such cases since that date;

         3. any government witness had an arrest, guilty plea, trial, fact-
            finding hearing, sentencing or disposition pending at the time
            of John Sullivan’s arrest and/or since that date;

         4. any government witness who was committed or on
            probation, parole, or supervised release in any juvenile or
            adult case at the time of the incident in the present case or
            since that time;

         5. any government witness who has now, or has had, any
            liberty interest that the witness might believe or might have
            believed would be favorably affected by government action;
            and,

         6. any deals, promises, or inducements that have been made
            to any government witness in exchange for their testimony;

t. any information that any government witness was, has been, or is a
   police informant, from the time of the incident in this case up to and
   including the day(s) of trial. If any witness is or has been an
   informant, I request disclosure of the following information:

      1. length and extent of witness’s informant status

      2. amounts normally paid to the informant;

      3. non-monetary assistance also provided to the informant,
         including but not limited to assistance in avoiding or minimizing
         harm from any pending charges, whether the charges existed
         at the time of the offense or any other time through the day of
         trial;


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        4. all benefits or promises of benefits to an informant or
           statements that a benefit would not be provided to an informant
           without his or her cooperation, whether or not such a promise
           or threat was fulfilled. “Benefits” refers to any monetary
           compensation, assistance of the prosecutor or the Court
           concerning pending charges against the informant, or any other
           sort of consideration of value;

        5. the nature of any such assistance provided to the informant in
           the past, including the number of occasions and form of help;

  u. any evidence of information that tends to even arguable link another
     individual to the crime charged;

  v. any other information in the possession of the government that is
     favorable to the defense, whether or not admissible in court, and that
     is material to the issues of guilt and/or punishment.

  With respect to any of the information requested above, I hereby request
any reports, records or other documents containing such information. If
such reports, records or other documents are in the custody, control, or
possession of the government, they must be disclosed to the defense.

  In carrying out your constitutional mandated Brady obligations, please,

     1. Speak to all members of the “prosecution team”;
     2. Speak to all employees of the United States Attorney General’s
        Office involved with the case;
     3. Speak with all police investigators who handled the case;
     4. Speak to all Victim advocates;
     5. Review all case files maintained by your office, not just concerning
        the instant case but any related cases;
     6. Search all record databases to which you have access for criminal
        records concerning any potential witnesses in this case;
     7. Ask the FBI, DEA, and Metropolitan Police Department if they
        have any relevant files; and
     8. Examine any pre-sentence reports and probation files relevant to
        the case




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      The forgoing requests are made pursuant to Brady and its progeny.
If you disagree with the legality of any of these requests, please let me
know in writing so that we can litigate the matter before Court.

     Jencks (Rule 26.2) Requests

      Please be advised that John Sullivan is requesting prompt disclosure
of any and all Jencks materials pursuant to R. Crim. P. 26.2. Undersigned
counsel is aware that the Rule 26.2(a) does not require the government to
produce such materials until after a witness has testified. Rule 26.29(d),
however, expressly authorizes the Court to recess proceedings when
counsel requires time to examine and use the materials provided under
subsection (a). Such a recess wastes valuable court time and resources.
Thus, unless the government has legitimate concerns about witness safety,
please disclose any Jencks material well in advance of trial so as to avoid
any costly delays.

     Duty to Preserve Discoverable Evidence

      Please be reminded of the government’s duty to preserve any
evidence that is discoverable or that the government is obligated to
disclose pursuant to Brady and its progeny, including, for example, any
materials that might yield biological or chemical evidence.

     Continuing Duty to Disclose

      The Duty to disclose under Rule 16 and Brady (and it progeny) is a
continuing one and the requests stated above are therefore continuous,
stretching until final disposition of this case. Thank you for your prompt
attention to these requests.

      This is a specific and on-going demand for each every offer of reward
that was extended in this case by any law enforcement agency or official or
prosecutor’s office.

Offer of rewards

     This request is for the full name, address and contact information for
each and every person who responded to any reward that was offered in


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connection with this indictment.. This demand encompasses all rewards,
oral and written, regardless of whether they were acted upon.

     This request includes the name and contact information for any
member of law enforcement or prosecutor’s office which in any manner
handled the reward

Utah state court proceeding

       Please advise me whether the United States intends to introduce
evidence of a pending case in the Utah state court system against John
Sullivan so that I may prepare necessary Motions in Limine. If it is your
intention to seek admission of the events in Utah, each of the discovery
requests identified herein related to the pending charge in the District of
Columbia are hereby adopted with respect to the Utah state court case.

      Plea Offer

      I am obliged to relay to my client any plea offer the government may
want to extend to him. Please contact me if any plea offer is to be
extended.

      Thank you for your attention to these requests.


                                          Very truly yours,


                                                /S/

                                          Steven R. Kiersh


cc: United States District Court case file, 21-cr-78




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